
 
 
 
 1
  Progressive Direct Insurance Company, Petitioner  v.  Andrew Ortiz. Respondent No. 24SC440Supreme Court of Colorado, En BancApril 14, 2025

 Court
 of Appeals Case No. 23CA292

 Petition
 for Writ of Certiorari GRANTED.

 [REFRAMED]
 Whether the court should reconsider the State Farm Mut.
 Auto. Ins. Co. v. Brekke, 105 P.3d 177 (Colo. 2004),
 standard related to the particularized pleading and
 timeliness requirements imposed on insurers in UM litigation.

 DENIED
 AS TO ALL OTHER ISSUES.

 
